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17
                               UNITED STATES DISTRICT COURT
18
                           SOUTHERN DISTRICT OF CALIFORNIA
19
      SAN DIEGO COMIC CONVENTION, a                    Case No. 14-cv-1865-AJB-JMA
20    California nonprofit corporation,
                                                       MEMORANDUM OF POINTS
21                Plaintiff,                           AND AUTHORITIES IN
22                                                     SUPPORT OF DEFENDANTS’
            v.                                         MOTION TO EXCLUDE THE
23                                                     EXPERT REPORT AND
      DAN FARR PRODUCTIONS, a Utah limited             TESTIMONY OF MATTHEW G.
24    liability company; and DANIEL FARR and           EZELL
25    BRYAN BRANDENBURG, individuals,
                                                       Date: September 21, 2017
26                Defendants.                          Time: 2:00 PM
27                                                     Courtroom: 4A
                                                       Judge: Hon. Anthony Battaglia
28    AND RELATED COUNTERCLAIMS
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4     Bayer Co. v. United Drug Co.,
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6        509 U.S. 579 (1993) ...............................................................................................................................4
7     E. I. Du Pont de Nemours & Co. v. Yoshida International, Inc.,
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14    Horizon Mills Corp. v. QVC, Inc.,
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      Hunt Masters, Inc. v. Landry’s Seafood Rest., Inc.,
16       240 F.3d 251 (4th Cir. 2001) .............................................................................................................6, 7
17    Kumho Tire Co. v. Carmichael,
        526 U.S. 137 (1999) ...............................................................................................................................4
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1                            TABLE OF SOURCES AND EXHIBITS
2
        Title or other description                       Short citation Location
3                                                        form
4
        Declaration of Daniel R. Barber in Support       Barber decl.    Filed
5                                                                        herewith
6       Declaration of Jessica D. Garcia in Support      Garcia decl.    Filed
7                                                                        herewith
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1                                          I.     Introduction
2           Defendants and counterclaimants Dan Farr Productions, LLC, Daniel Farr, and
3     Bryan Brandenburg (collectively, “DFP”) offer the following points and authorities in
4     support of their Motion to Exclude the Report and Testimony of Matthew G. Ezell.
5                                           II.    Argument
6           1.     Legal Standard
7            Federal Rule of Evidence 702 states a “witness who is qualified as an expert by
8     knowledge, skill, experience, training, or education may testify in the form of an opinion
9     or otherwise if: (a) the expert’s scientific, technical, or other specialized knowledge will
10    help the trier of fact to understand the evidence or to determine a fact in issue; (b) the
11    testimony is based on sufficient facts or data; (c) the testimony is the product of reliable
12    principles and methods; and (d) the expert has reliably applied the principles and methods
13    to the facts of the case.”1 Federal Rule of Evidence 702 “imposes a special obligation
14    upon a trial judge to ensure that any and all scientific testimony ... is not only relevant,
15    but reliable.”2 “Rule 702 further requires that the evidence or testimony ‘assist the trier
16    of fact to understand the evidence or to determine a fact in issue.’ This condition goes
17    primarily to relevance. ‘Expert testimony which does not relate to any issue in the case is
18    not relevant and, ergo, non-helpful.’”3
19          2.     SDCC’s Survey is Irrelevant because this is not a Genericide Case
20          To resist the mountain of evidence uniformly compelling the conclusion that
21    “comic con” is generic, SDCC offers a so-called “Teflon” survey conducted by its
                                                               4
22    purported survey expert, Matthew G. Ezell (“Ezell”).         A Teflon survey begins with a
23
      1
24      Fed. R. of Evid. 702.
      2
        Kumho Tire Co. v. Carmichael, 526 U.S. 137, 147 (1999) (citing Daubert v. Merrell
25    Dow Pharm., Inc., 509 U.S. 579, 589 (1993).
26
      3
        Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 591 (1993).
      4
        I.e., a survey modeled after that approved by E. I. Du Pont de Nemours & Co. v.
27    Yoshida International, Inc., 393 F. Supp. 502, 518–20 (E.D.N.Y. 1975); Ezell’s expert
28    report is provided at Barber decl. Ex. 10.
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1     brief lesson explaining the difference between brand names and common names. It then
2     asks respondents to classify a series of words, including the trademark at issue, as either
3     brand names or common names.”5 SDCC’s survey is inapposite—as is any evidence
4     measuring consumer perceptions—because this is not a genericide case.
5                 a)     Surveys Measuring Consumer Perception Matter Only in
6                        Genericide Cases
7                 Courts have determined terms to be generic, and hence
8                 unprotectible, under two principal circumstances. The first case
                  is where a seller appropriates an existing generic term and
9                 claims exclusive rights in it as a “trademark” of that term. In
10                such a case, because the term was generic before the seller used
                  it, the seller never had trademark rights in the term. An
11                individual challenging the mark need only establish that the
12                term is generic through an examination of the term itself.
                  Notable examples include “flor-tile” as a mark for wooden
13                flooring, “The Computer Store” for computer sales services,
14                “cola” for a type of soft drink, “fontina” for a type of cheese,
                  “baby oil” for mineral oil, and “hog” for large motorcycles.6
15
16                The second case in which courts have determined a mark to be
                  generic involves matters where a seller establishes trademark
17                rights in a term which a majority of the relevant public then
18                appropriates as the name of a product. In such a case, the mark
                  is said to be a victim of “genericide” and trademark rights may
19                cease. The public’s appropriation is set in motion by two, often
20                concurrent processes, namely, (i) the trademark owner’s failure
                  to police the mark, resulting in widespread usage by
21                competitors, and (ii) the public’s inability to call the product by
22                any other name than the trademarked term. Notable examples
                  include “aspirin” for acetyl salicylic acid, “cellophane” for
23                transparent cellulose sheets and films, “escalator” for a moving
24
25
      5
26      Elliott v. Google, Inc., No. 15-15809, 2017 U.S. App. LEXIS 8583, at *18 n.7 (9th Cir.
      May 16, 2017).
27    6
        Horizon Mills Corp. v. QVC, Inc., 161 F. Supp. 2d 208, 213 (S.D.N.Y. 2001) (citing
28    cases).
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1                  stairway, “Murphy Bed” for a bed that folds into a closet; and
                   “Thermos” for vacuum-insulated bottles.7
2
3           By statute, the test for genericide is “primary significance … to the relevant
4     public.”8 Thus in a genericide case, consumer surveys can be “particularly helpful in
5     divining what the principal significance … to the consuming public.”9 But surveys are
6     not needed to determine “whether a term was generic before it was applied as a
7     trademark to the products in question”10—i.e., in a non-genericide case.11
8     7
        Horizon Mills, 161 F. Supp. 2d at 213–14 (citing cases).
9     8
        See 15 U.S.C. § 1064(3) (“The primary significance of the registered mark to the
10    relevant public … shall be the test for determining whether the registered mark has
      become the generic name of goods or services on or in connection with which it has been
11    used.”).
      9
12      Horizon Mills, 161 F. Supp. 2d at 220.
      10
         See Horizon Mills, 161 F. Supp. 2d at 220 n. 16 (distinguishing Gimix, Inc. v. JS & A
13    Group, 699 F.2d 901, 905 (7th Cir.1983) and Expoconsul Int'l Inc. v. A/E Sys., 755
14    F.Supp. 1237, 1247 (S.D.N.Y. 1991)).
      11
         See Schwan’s IP, LLC v. Kraft Pizza Co., 460 F.3d 971, 976 (8th Cir. 2006) (although
15    “consumer perception was relevant to determine whether a coined term for a commercial
16    product (i.e. aspirin, teflon, thermos) had become generic,” because “Brick Oven was
      commonly used before either party began labeling their frozen pizzas with the term … it
17    was not error for the district court to omit the survey evidence from its genericness
18    analysis”); Hunt Masters, Inc. v. Landry’s Seafood Rest., Inc., 240 F.3d 251, 255 (4th Cir.
      2001) (“The notion that whether a word is generic depends upon consumers’
19    understanding of the word is based upon a scenario involving a coined word for a
20    commercial product (such as ‘aspirin,’ ‘teflon,’ or ‘thermos’) that is alleged to have
      become generic through common usage.”); Miller Brewing Co. v. Jos. Schlitz Brewing
21    Co., 605 F.2d 990, 995 (7th Cir. 1979) (“The survey evidence could have only two
22    purposes: to prove the meaning of the word ‘light’ or to prove that consumers have come
      to associate that word with Miller’s product. As for the first purpose, the meaning of a
23    familiar English word of Anglo-Saxon heritage can hardly be established by a survey of
24    988 beer drinkers who had endured long exposure to Miller’s advertising of the word in
      connection with the Miller name. When Judge Learned Hand said that whether a word is
25    generic depends on what ‘buyers understand by the word,’ Bayer Co. v. United Drug Co.,
26    272 F. 505, 509 (S.D.N.Y.1921), he was referring to a coined word for a commercial
      product that was alleged to have become generic through common usage. He was not
27    suggesting that the meaning of a familiar, basic word in the English vocabulary can
28    depend on associations the word brings to consumers as a result of advertising. [¶] This
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1                  b)    This Is Not a Genericide Case because SDCC Did Not Coin
2                        “Comic Con”
3           Historical evidence and SDCC’s own unequivocal concessions establish that this is
4     not a genericide case, where the public has appropriated a term coined by SDCC. Simply
5     stated, SDCC was not the first to call its event a comic con. By August 21, 1965, for
6     example, The New Yorker could report: “[a] group of collectors of old comic books held a
7     convention the other weekend … officially known as the second annual ComiCon, or
8     Con.”12 SDCC admitted in deposition that SDCC did not coin “comic con”:
9           Q So the term “Comic-Con” is not a term that SDCC made up itself?
10          A That’s correct.
11          Q It didn’t coin that term?
12          A That’s correct.13
13          Because SDCC “does not claim to have first coined the term” “comic con,” “it is
14    not necessary to determine whether the term has become generic through common use,”
15    and that “render[s] [SDCC’s] consumer survey irrelevant.”14
16                                          III.   Conclusion
17          For the foregoing reasons, Mr. Ezell’s report and any testimony based upon or

18    related to his efforts to conduct a Teflon survey are, as a legal matter, irrelevant to this
      case. As such, they should be excluded.
19
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24    brings us to the second possible purpose of Miller’s new survey evidence, to prove that
      consumers have come to associate the word with Miller’s product. Proof of that fact
25    would not advance Miller’s trademark claim, because … if a word is generic it ‘can never
26    become a trademark.’”).
      12
         Garcia Decl. Ex. 18, at DANFARR008743 (italics added).
27    13
         Glanzer dep. 58:12–16.
      14
28       See Hunt Masters, 240 F.3d at 255.
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